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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION

UNITED STATES OF AMERICA

V.                                                               4:07CR00086-10 JMM

MARCUS ORLANDO WATKINS


                                           ORDER

       Pending is the Government’s Motion to Dismiss Indictment against Marcus Orlando

Watkins. For good cause shown the Motion to Dismiss (Docket # 633) is GRANTED. The

indictment against Mr. Watkins is dismissed without prejudice.

       IT IS SO ORDERED this 23rd day of December 2008.



                                                   _________________________________
                                                   James M. Moody
                                                   United States District Judge
